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            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:10CR158
                              )
          v.                  )
                              )
THOMAS DASHER,                )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

for order continuing hearing (Filing No. 635).                The Court finds

the motion should be granted.       Accordingly,

           IT IS ORDERED that a hearing on plaintiff’s motion

(Filing No. 604) is rescheduled for:

                 Thursday, June 13, 2013, at 9 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.         Defendant need not be

present.

           DATED this 5th day of March, 2013.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
